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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF


UNITED STATES OF AMERICA,                   CASE NO.

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
EDWIN ISMAEL JUAREZ­
BRACAMONTES (1),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed     another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

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 X__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Indictment:

     21 USC 841(a) (1); 18 USC 2 - POSSESSION OF METHAMPHETAMINE WITH

     INTENT TO DISTRIBUTE; AIDING AND ABETTING

           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: OCTOBER 16, 2012
                                            Ruben B. Brooks
                                            U.S. Magistrate Judge
